            Case: 4:13-cv-00958-JAR Doc. #: 1-1 Filed: 05/20/13 Page: 1 of 34 PageID #: 6


Report: CZROO26                                      21ST JUDICIAL CIRCUIT                      Date:   15-May-2013
                                                       ST LOUIS COUNTY                          Time:    2:34:11PM
                                                 CIRCUIT COURT DOCKET SHEET                     Page:   1




I3SL-CCO1 203               ST LOUIS HEART CENTER INC VGILEAD PAL                         Security Level: I Public
                            ALTO INC ETA
 Case Type:            CC Injunction                          Case Filing Date:   05-Apr-2013
 Status:               Pet Filed in Circuit Ct
 Disposition:                                                 Disposition Date:
                                                                                    Release/Status Reason
                                                                                    Change Date
Judge                             MICHAEL D BURTON (35190)
Plaintiff                         ST LOUIS HEART CENTER INC (@583072)
   Attorney for Plaintiff            MAX GEORGE MARGULIS(24325)
Defendant                         GILEAD PALO ALTO INC (GILEADPAL)
                                  THE PEER GROUP INC (PEERGRP)
                                  JOHN DOES 1-10 (@584423)

Filing Date       Description
05-Apr-2013       Judge Assigned
                  DIV 16
                  Pet Filed in Circuit Ct
                  Confid Filing Info Sheet Filed
                  Motion Filed
                  MOTION FOR CLASS CERTIFICATION
                  Motion Special Process Server
                  TYLER DIMARIA APPROVED ON APRIL 10, 2013
                  Motion Special Process Server
                  MATT MAHON OR BIRUTE MELINIS APPROVED APRIL 19 2013
10-Apr-2013       Summ lssd- Circ Pers Serv 0/S
                  Document ID: 13-SMOS-432, for GILEAD PALO ALTO INC.
                  MAILED TO ATTORNEY
19-Apr-2013       Summ lssd- Circ Pers Serv 0/S
                  Document ID: 13-SMOS-477, for THE PEER GROUP INC.
                  MAILED TO ATTORNEY
09-May-20 13      Certificate of Service




                                                                                                EXHIBIT A
     Case: 4:13-cv-00958-JAR Doc. #: 1-1 Filed: 05/20/13 Page: 2 of 34 PageID #: 7




 STATE OF MISSOURI              )

 COUNTY OF ST. LOUIS
                                )

                                )
                                                                         2Uf3
                                                                                '' -9 p   2:
                                                                                               '8
                   IN THE CIRCUIT COURT OF THE COUNTY OF ST LOUIS
                                  STATE OF MISSOURI

 ST. LOUIS HEART CENTER, INC., individually
 and on behalf of all others similarly-situated,          Cause No. 13SL-CC01203

        Plaintiff,                                         Division 16
 V


 GILEAD PALO ALTO, INC.,
      Serve: Corporation Service Company
      which will do business in California as
             CSC- Lawyers Incorporated
             2710 Gateway Oaks Dr. Ste 150N
             Sacramento, CA 95833
             Sacramento County

THE PEER GROUP, iNC.,
     Serve: Person In Charge
            830 Bear Tavern Rd
            West Trenton, NJ 08628
            Mercer County
and

JOHN DOES 1-10,



CERTIFICATE OF SERVICE OF PLAINTIFF'S FIRST SET OF INTERROGATORIES,
REOUEST FOR PRODUCTION OF DOCUMENTS AND REOUEST FOR ADMISSIONS
          DIRECTED TO DEFENDANT, GILEAD PALO ALTO. INC..

       The undersigned certifies that Plaintiffs' First Set of Interrogatories to Defendant, Gilead

Palo Alto,   mc,   Plaintiffs' First Request for Production of Documents Directed to Defendant,

Gilead Palo Alto, Inc and Plaintiffs' First Request for Admissions Directed to Defendant, Gilead

Palo Alto were served on Defendant, Gilead Palo Alto with service of the petition at 2710

Gateway Oaks Dr Ste 150N Sacramento, CA 95833 and with a word version on a disc on this

22' day of April, 2013.
Case: 4:13-cv-00958-JAR Doc. #: 1-1 Filed: 05/20/13 Page: 3 of 34 PageID #: 8




                        $41 4L
                         Max G. Margulis, 24325
                        MARGULIS LAW GROUP
                          28 Old Belle Monte Rd.
                          Chesterfield, MO 63017
                            P: (636) 536-7022
                            F: (636) 536-6652
                   E-Mail: MaxMargulisMargu1isLaw.com
                           Case: 4:13-cv-00958-JAR Doc. #: 1-1 Filed: 05/20/13 Page: 4 of 34 PageID #: 9
    4l
    I                       IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

   Judge or Division:                                                           Case Number: 13SL-CC01203
   MICHAEL D BURTON
   PlaintifPetitioner:                                                         Plaintiff's/Petitioner's Attorney/Address:
    ST LOUIS HEART CENTER INc                                                  MAX GEORGE MARGTJLIS
                                                                               28 OLD BELLE MONTE ROAD
                                                                         vs.   CHESTERFIELD, MO 63017
   Defendant/Respondent:                                                       Court Address:
    GILEAD PALO ALTO mc                                                        ST LOUIS COUNTY COURT BUILDING
   INature    ot      uit.                                                     7900 CARONDELET AVE
    C Injunction                                                               CLAYTON MO 63105
                                                                                                                                                                      (Date File Stamp)
                                        Summons for Personal Service Outside the State of Missouri
                                                                        (Jixcept Attachment Action)
        The State of Missouri to: THE PEER GROUP INC
                                              Alias:
                                                                    830 BEAR TAVERN RI)
                                                                    WEST TRENTON, NJ 08628


         COURT SEAL OF                             You are summoned to appear before this court and to file your pleading to the petition, copy of which is attached,
                                                and to serve a copy of your pleading upon the attorney for the Plaintiff'Petitioner at the above address all within 30
                                                days after service of this summons upon you, exclusive of the day of service. If you fail to file your pleading,
                                               judgment by default will be taken against you for the relief demand           S acti n
          a
                            -                    19-APR-2013
                     u:
                   IS OS
                                                 Date
                                               Further Information:
        ST. LOUIS COUNTY                       TLC
                                                                    Officer's or Server's Affidavit of Service
        I certify that:
         1.   I am authorized to serve process in civil actions within the state or territory where the above summons was served.
        2.    My official title is                                                    of________________________ County,                         (state).
        3.    1 have served the above summons by: (check one)
                      delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                      leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                                                                   a person of the Defendant's/Respondent's family over the age of 15 years.
                      (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                                                                                 (name)                                                        (title).
                     other (describe)
        Served at
                                                                                                                                             (address)
        in                                    County,                             (state), on                       (date) at                   (time).
                                Printed Name of Sheriff or Server                                                         Signature of Sheriff or Server
                                               Subscribed and Sworn To me before this                 (day)                    (month)             (year)
                                               I am: (check one) [1 the clerk of the court of which afflant is an officer.
                                                                 [1 the judge of the court of which afflant is an officer.
              "Seafl                                             L] authorized to administer oaths in the state in which the afflant served the above summons.
                       /                                              (use for out-of-state officer)
                                                                 0 authorized to administer oaths. (use for court-appointed server)

                                                                                                                                               and Title
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage
    Total
                    $___________________ (                                      miles @ $   -                 per mile)
                    $___________________
                                         See the following page for directions to clerk and to                       return on            of summons.




OSCA (7-04) SM6O           For Court Use Only:   Document ID# 13-SMOS-477                            of   2
                                                                                                 1               (I3SL-CC01203)                            Rules   54.06, 54.07, 54.14, 54.20;
                                                                                                                                                                     506.500, 506.510   RSMo
                Case: 4:13-cv-00958-JAR Doc. #: 1-1 Filed: 05/20/13 Page: 5 of 34 PageID #: 10

                                                            Directions to Clerk

            Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
      should insert in the summons the names of only the DefendantlRespondent or Defendants/Respondents who are to be
      personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
      clerk under the seal of the court and a copy of the swnmons and a copy of the petition for each Defendant/Respondent should
      be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
      or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certifS' that the copy
      is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
      summons but need not be certified a true copy. If the Plaintiff's/Petitioner has no attorney, the Plaintiffs/Petitioner's address
      and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
      actions. (See Rule 54.06, 54.07 and 54.14)



                                   Directions to Officer Making Return on Service             of Summons

           A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. If any
      Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
      accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant's/Respondent's refusal
      to receive the same.

           Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
      appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
      summons and motion at the individual's dwelling house or usual place of abode with some person of the family over 15 years
      of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
      service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
      copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
      Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
      an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
      with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
      appointment or required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. Upon a
      public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
      attorney in the case of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public
      corporation or body or to any person otherwise lawfully so designated.

          Service may be. made by an officer or deputy authorized by law to serve process in civil actions    within   the state or territory
      where such service is made.

           Service may be made in any state or territory of the United States. If served in a territory, substitute the word "territory"
      for the word "state."

           The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant's authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
     court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM6O For Court Use Only: Document JD# 13-SMOS-477              2 of 2    (I3SL-CC01203)                    Rules 54.06, 54.07, 54.14,54.20;
                                                                                                                               506.500, 506.510 RSMo
                       Case: 4:13-cv-00958-JAR Doc. #: 1-1 Filed: 05/20/13 Page: 6 of 34 PageID #: 11




 n      e

CIRCUIT COURT                                                                                                -'      I
                                                                                                                              For File Stamp Only
Of St. Louis County, Missouri :.
St Lb                                    i\   eni-er
Plaintiff/Petitioner
                                                                            Date


vs.(/ead Palo 111k Inc
Thg Peer                        '       k                 ('i Johh
Defendant/Respondent
                                              i-i 0                                                                  L                              .J




                                REQUEST FOR APPOINTMENT OF PROCESS SERVER

        Comes now                                     M otrgttJc                   4br P/Jn LTH2P                                 ,   pursuant
                           --                                     Requesting Party




               .   .   .
                                                                           ouress or in me Alternative                                    Thre
            A-i 1neserrjr- q Stbpnü                                                   i-vki )nc
       Name of Process Server                                            Address or in the Alternative
                                                                                                Tir.re
        Natural person(s) of lawful age to serve the summons and petition in this cause on the below
       named parties. This appointment as special process server does not include the authorization
       to carry a concealed weapon in the performance thereof.

       SERVE:                                                                          SERVE:
                                                                                       Name

                                                                                      Address
      City/State/Zip                                                                  City/State/Zip
       (hereer £oIu?')-EI
      SERVE:                                                                          SERVE:
      Name                                                                            Name

      Address                                                                         Address
      City/State/Zip                                                                  City/State/Zip

     Appointed as requested:
     JOAN M. GILMER. Circuit                      ClArk
                                                                                                  2 X44
                                                                                              MaxG.MarguUs                                  24325

                                                                                     Attorntiie Rd.                      Chesterfield, MO 63017
                                                                                      Bar No() 536-7022                          (636)536- 6652
                                                                                     Address             MaxMarguhs@Margulislaw.com
                                                                                     Phone No.                                        Fax No.

       CAflMI,                      fl1fla    %AII IVrr    .-..
                     Case: 4:13-cv-00958-JAR Doc. #: 1-1 Filed: 05/20/13 Page: 7 of 34 PageID #: 12

                     IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

   Judge or Division:                                                 Case Number: 13SL-CC01203
   MICHAEL D BURTON
   Plaintiff/Petitioner:                                              Plaintiff's/Petitioner's Attorney/Address:
    ST LOUIS HEART CENTER ncc                                         MAX GEORGE MARGULIS
                                                                      28 OLD BELLE MONTE ROAD
                                                                vs.   CHESTERFIELD, MO 63017
   Defendant/Respondent:                                              Court Address:
   GILEAD PALO ALTO INC                                               ST LOUIS COUNTY COURT BUILDING
   Nature of SuitS                                                    7900 CARONDELET AVE
   CC Injunction                                                      CLAYTON MO 63105
                                                                                                                                               (Date File Stamp)
                               Summons for Personal Service Outside the State of 1'Iissouri
                                                                           Attachment Action
      The State of Missouri to: GILEAD PALO ALTO INC
                                     Alias:
   CORPORATION SERVICE COMPANY                             2710 GATEWAY OAKS DR
   WHiCH WILL DO BUSINESS IN                               STE 150N
   CALIFORNIA AS CSC-LAWYERS                               SACRAMENTO, CA 95833
   INCORPORATED
       COURT SEAL OF                      You are summoned to appear before this court and to file your pleading to the petition, copy of which is attached,
                                       and to serve a copy of your pleading upon the attorney for the PlaintifflPetitioner at the above address all within 30
                                       days after service of this summons upon you, exclusive of the day of service. If you fail to file your pleading,
                       -              judgment by default will be taken against you for the relief demand            S acti n


                                         IQAPR-2013
                                        Date
                                      Further Information:
       T. LOUIS COUNTY                JMC
                                                           Officer's or Server's Affidavit of Service          -

       I certify that:
       I. I am authorized to serve process in civil actions within the state or territory where the abovesummons was served.
      2.     My official title is                                                  of_______________________ County,                          (state).
      3.     I have served the above summons by: (check one)
                Lii delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                     leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                      __________________________________,a person of the Defendant's/Respondent's family over the age of 15 years.
                fl (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                                                                              (name)                                                        (title).
                r:i other (describe)
      Served at                                                                                                                           (address)
      in                                     County,                           (state), on                       (date) at                   (time).
                       Printed Name of Sheriff or Server                                             Signature of Sheriff or Server
                                      Subscribed and Sworn To me before this                   (day)                   (month)            (year)
                                      I am: (check one) [] the clerk of the court of which afflant is an officer.
                                                        [1 the judge of the court of which affiant is an officer.
            "Seal)                                      LI authorized to administer oaths in the state in which the afflant served the above summons.
                                                              (use for out-of-state officer)
                                                             authorized to administer oaths. (use for court-appointed server)

                                                                                                               Signature and Title
    Service Fees, if applicable
    Summons          $___________________
    Non Est         $__________________
    Mileage            $____________________ ________________miles @ $                       per mile)
    Total              $___________________
                               See the following page for directions to clerk and to officer making return on service of summons.




OSCA (7-04) SM6O For   Court Use Only:   Document lD# 13-SMOS-432                   I of 2     (I3SL-CCOI2O3)                         Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                              506.500,506.510 RSMo
                Case: 4:13-cv-00958-JAR Doc. #: 1-1 Filed: 05/20/13 Page: 8 of 34 PageID #: 13

                                                            Directions to Clerk

            Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
      should insert in the summons the names of only the Defendant/Respondent or Defendants/Respondents who are to be
      personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
      clerk under the seal of the court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
      be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
      or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
      is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
      summons but need not be certified a true copy. If the Plaintiff's/Petitioner has no attorney, the Plaintiffs/Petitioner's address
      and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
      actions. (See Rule 54.06, 54.07 and 54.14)



                                   Directions to Officer Making Return on Service of Summons
           A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. If any
      Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
      accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant's/Respondent's refusal
      to receive the same.

           Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
      appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
      summons and motion at the individual's dwelling house or usual place of abode with some person of the family over 15 years
      of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
      service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
      copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
      Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
      an officer, partner, or managing or general agent, or by leaving the copies at any business Office of the Defendant/Respondent
      with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
      appointment or required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. Upon a
      public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
      attorney in the case of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public
      corporation or body or to any person otherwise lawfully so designated.

         Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or territory
      where such service is made.

           Service may be made in any state or territory of the United States. If served in a territory, substitute the word "territory"
      for the word "state."

           The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant's authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
     court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM6O For Court Use Only: Document ID# 13-SMOS-432              2 of 2    (13SL-CC01203)                  Rules 54.06,54.07, 54.14, 54.20;
                                                                                                                             506.500, 506.510 RSMo
                       Case: 4:13-cv-00958-JAR Doc. #: 1-1 Filed: 05/20/13 Page: 9 of 34 PageID #: 14




In the
CIRCUIT COURT




                                                                         jii
                                                                                                                                               1
                                                                                                                         For File Stamp Only
Of St. Louis County, Missouri

5t LDu                             Heiir        (enxJnc
Plainbff/Petitioner
                                                                  Date




(    kc d 'P Jo P' i+o They
Defendant'Responden                                               Division
                                                       \O                                                     L                                I



                            REQUEST FOR APPOINTMENT OF PROCESS SERVER

          Comes now                                                                                                            pursuant
          to Local Rule                 ana at flis/her/its own ristu-equests the a                tment of            Circjjit Clerk of
                                        ncL           .JLO?Ct( Q$yIv]                                                     W1LJ_71j2
                       Process Server
                                                      ¶QcXame11iePC,               S25                                             Tfue
           arne        Process Server
                  Ot
                                                                Address or in the Alternative                                      TIrre
          Name of Process Server                                Address or in the Alternative                                      TtuB
          Natural person(s) of lawful age to serve the summons and petition in this cause on the below
          named parties. This appointment as special process server does not include the authorization
          to carry a concealed weapon in the performance thereof.

          SERVE:               .                                              SERVE:
          UDrOra-hbfl                   &v            Lonpanu
          Nam1           n                               b-
                                                                }Name
      Address

      City/State/Zip
                           r&r                C!;ic
                                                      q2)                    Address

                                                                             city/state/zip

      SERVE:                                                                 SERVE:
      Name                                                                   Name
      Address                                                                Address
      City/State/Zip




     --p
                                                                             City/State/Zip

     Appointed as requested:
                                                                                                1i ii    ;-            II
                                                                                    MaxG                                              24325
     JOAN M. GILMER, Circuit Clerk
                                                                             Attornn                              01    IbJd, MO 63017

                                                                             Bar N36) 536-7022                              (636)5386652

                                                                                                MvM$JIstia1aw.oem
     wza,I,
     Ii
                                                                             Address

                                                                             Phone No.                                         Fax No.

     r.ranMo p, nQ/nt
      Case: 4:13-cv-00958-JAR Doc. #: 1-1 Filed: 05/20/13 Page: 10 of 34 PageID #: 15

                                                                                                                        One US Bank Plaza
            THOMPSON                                                                                             St. Louis, Missouri 63101
                                                                                                                           P 314.552.6000
            COBURNI              LU'
                                                                                                                      F 314552.7000
                                                                                                             www.thompsoncoburn .com



Facsimile
FOR IMMEDIATE DEIJVERY
                                                                                                   FIL ED
To:                Certified Copies (URGENT Request)
                                                                                                               5 2Uj
Firm Name:         St. Louis County Circuit Court
                                                                                          C!RCO!NMG/LMER
Phone:             314-615-8015                                                                               Laws   COLJfgTy


Fax:               314-615-8739

From:              Melissa S. Mahalik, Legal Secretary


                   P (314) 552-6000 Ext. 1235
                   F (314)552-7000

Date:              5/14/2013

Message:           Dear Clerk:

                   I am in need of a copy of the ENTIRE file for the following
                   case: St. Louis Heart Center Inc. v. Gilead Palo Alto Inc.;
                   Case No. 13SL-CC01203.

                   I am in need of the copies on an URGENT BASIS, as I am
                   removing this case to Federal Court this week.

                   If someone could please call me when you have the cost
                   for copies, I will arrange for a courier to pick them up, with
                   payment.

                   Thank you kindly.

Total Number of Pages, including this page: 1

If you do not receive all of the pages, please call (314) 552-6000 Ext. 1235 as soon as possible.




Confidentiality Note
The information contained in this facsimile transmission is legally privileged and confidential information intended only for the use of the
individual or entity named above. If the reader of this transmission is not the intended recipient, you are hereby notified that any
dissemination, distribution, or copying of this transmission is strictly prohIbited. If you have received this transmission in error, please
immediately notify us by collect telephone call and return the original transmission to us at the above address by U.S. mail.
       Case: 4:13-cv-00958-JAR Doc. #: 1-1 Filed: 05/20/13 Page: 11 of 34 PageID #: 16



     STATE OF MISSOURI

      ST. LOUIS COUNTY

                      IN THE CIRCUIT COURT OF THE ST. LOUIS COUNTY
                                    STATE OF MISSOURI

      ST. LOUIS HEART CENTER, iNC., individually and
      on behalf of all others similarly-situated,                   Cause No.

             Plaintiff,

      V.



      GILEAD PALO ALTO, INC.,

      THE PEER GROUP, INC.,

      and

     JOHN DOES 1-10,

             Defendants.

                            MOTION FOR CLASS CERTIFICATION1

            COMES NOW Plaintiff, individually and on behalf of all others similarly situated, by

 and through its undersigned counsel, and for its Motion for Class Certification, states

 1.     Recent developments in class action practice make necessary the filing of this motion
with the petition. Defendants in class litigation have resorted to making individual settlement
offers to named plaintiffs before a class action is certified in an attempt to "pick-off' the putative
class representative and thereby derail the class action litigation. Most courts have rejected these
pick-off attempts and have held that the filing of a motion for class certification with the initial
petition. or within a number of days after service of any settlement offer to a named plaintiff
staves off offers of judgment to the named plaintiff. Any settlement offer made after the filing of
the motion for class certification must be made on a class-wide basis. See Alpern v. UtiliCorp
United, 84 F.3d 1525 (8th Cir. 1996); Weiss v. Regal Collections, 385 F. 3d 337, 344 n. 12 (3d
Cir. 2004); see Jancik v. Cavalry Portfolio Sen's., 2007 WL 1994026, at *2_3 (D. Minn. July 3,
2007) Harris v. Messerli & Kramer, P.A., 2008 WL 508923, at *2_3 (D. Minn. Jan. 2, 2008)
(same); Johnson v. US. Bank Nat'l Assn., 276 F.R.D. 330, 333-335 (D. Minn. 2011) (same). See
also Lucero v. Bureau of Collection Recovery, Inc., 639 F.3d 1239, 1249 (10th Cir. 2011); Mey
v. Monitronics Int'l, Inc., 2012 WL 983766, at * 4-5 (N.D. W.Va. Mar. 22, 2012); Hrivnak v.
NCO Por'folio Mgmt., Inc., 723 F.Supp.2d 1020, 1029 (N.D. Ohio 2010); McDowall v. Cogan,
216 F.R.D. 46,48-50 (E.D. N.Y. 2003).
2.
      Case: 4:13-cv-00958-JAR Doc. #: 1-1 Filed: 05/20/13 Page: 12 of 34 PageID #: 17

4




             1.      This cause should be certified as a class because all of the necessary elements of

    Rule 52.08 are met.

            2.      Plaintiff requests that the Court certifr a class, so the common claims of the Class

    members, based on a uniform legal theory and factual allegations applicable to all Class

    members, can be resolved on a class-wide basis.

            3.      Plaintiff proposes the following Class definition:

                    All persons who on or after four years prior to the filing of this action, were
                    sent telephone facsimile messages of material advertising the commercial
                    availability of any property, goods, or services by or on behalf of
                    Defendants.

            4.      Under Rule 52.08(a)(l), to bring a Class action, the Class must be "so numerous

    that joinder of all members is impracticable." Rule 52.08(a)(1). Here, there are at least hundreds

    of persons who fall within the Class definition. Thus, the numerosity requirement of Rule

    52.08(a)(l) is satisfied.

            5.      There are questions of law or fact common to the Class members.

            6.      The claims or defenses of the representative parties are typical of the claims or

    defenses of this Class.

            7.      Plaintiff and its counsel will fairly and adequately protect the interest of the Class.

            8.      Common issues of law or fact predominate over any individual issues, and a class

    action is the superior method for the fair and efficient adjudication of this controversy.

            9.      The prosecution of separate actions by individual members of the class would

    create a risk of inconsistent or varying adjudications which would establish incompatible

    standards of conduct for the party opposing the class.

            10.    The prosecution of separate actions by individual members of the class would

    create a risk of adjudications with respect to individual members of the class which would as a

    practical matter be dispositive of the interests of the other members not parties to the
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adjudications or substantially impair or impede their ability to protect their interests.

        11.     Plaintiff requests additional time to file its supporting Memorandum of Law after

the Court sets up an appropriate discovery schedule.            Written discovery related to class

certification issues is presently outstanding.

        WHEREFORE, Plaintiff prays that this Court certify this case as a class action, grant

statutory injunctive relief prohibiting Defendants from sending advertising materials via fax to

members of the class, and further pray that the Court appoint Plaintiff as Class Representative,

appoint Plaintiff's attorneys Class Counsel; that this Court allow Plaintiff additional time, for

completion of discovery related to class certification issues, to file its Memorandum of Law in

Support of this Motion; and for such other and further relief as the Court deems appropriate

under the circumstances.



       Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

          I hereby certif' that a copy of the foregoing was served on the Defendants GILEAD
PALO ALTO, INC. and THE PEER GROUP, iNC. by the process server at the same time as the
petition.
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STATE OF MISSOU             )                                  ..


                            )

ST. LOUIS COUNTY            )

                    IN THE CIRCUIT COURT OF THE ST. LOUIS COUNTY
                                  STATE OF MISSOURI

ST. LOUIS HEART CENTER, INC., individually and
on behalf of all others similarly-situated,                    Cause No.


       Plaintiff,                                              Division

V

GILEAD PALO ALTO, INC.,
     Serve: Corporation Service Company which                  PROCESS SERVER
            will do business in California as CSC-
            Lawyers Incorporated
            2710 Gateway Oaks Dr. Ste 150N
            Sacramento, CA 95833
            Sacramento County

 THE PEER GROUP, INC.,
      Serve: Person In Charge                                  PROCESS SERVER
             830 Bear Tavern Rd
             West Trenton, NJ 08628
             Mercer County


 JOHN DOES 1-10,

        Defendants.

                                 CLASS ACTION PETITION

       Plaintiff, ST. LOUIS HEART CENTER, INC. ("Plaintiff'), brings this action on behalf of

itself and all others similarly situated, through its attorneys, and except as to those allegations

pertaining to Plaintiff or its attorneys, which allegations are based upon personal knowledge,




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alleges the following upon information and belief against Defendants, GILEAD PALO ALTO,

NC., THE PEER GROUP, NC., and JOHN DOES 1-10 ("Defendants"):

                                  PRELIMiNARY STATEMENT
                                                                               facsimile
       1.     This case challenges Defendants' practice of sending unsolicited

advertisements.

       2.      The federal Telephone Consumer Protection Act, 47 USC § 227, prohibits a person
                                                   advertisements without the recipient's prior
or entity from sending or having an agent send fax
                                                                         The TCPA provides a
express invitation or permission ('juiik faxes" or "unsolicited faxes").

private right of action and provides statutory damages of $500 per violation.

       3.      Unsolicited faxes damage their recipients. A junk fax recipient loses the use of its

fax machine, paper, and ink toner. An unsolicited fax wastes the recipient's valuable time that

would have been spent on something else.             A junk fax interrupts the recipient's privacy.

Unsolicited faxes prevent fax machines from receiving authorized faxes, prevent their use for

authorized outgoing faxes, cause undue wear and tear on the recipients' fax machines, and require

additional labor to attempt to discern the source and purpose of the unsolicited message. A junk
                                                                              infrastructure serving the
fax consumes a portion of the limited capacity of the telecommunications

victims of junk faxing.

        4.        On behalf of itself and all others similarly situated, Plaintiff brings this case as a
                                                                             law of conversion
 class action asserting claims against Defendants under the TCPA, the common

 and Missouri consumer and fraud and deceptive business practices act Chapter 407.

        5.        Plaintiff seeks an award of statutory damages for each violation of the TCPA.




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                                  JURISDICTION AND PARTIES

       6.      This court has personal jurisdiction over Defendants because Defendants transacts

business within this state, have made contracts within this state, and/or have committed tortious

acts within this state and otherwise have sufficient minimum contacts with the State of Missouri.

       7.      Plaintiff ST. LOUIS HEART CENTER, INC., is a corporation with its principal

place of business in St. Louis County, Missouri.

       8.      On information and belief, Defendant, GILEAD PALO ALTO, INC., is a

corporation with its principal place of business in California.

       9.      On information and belief, Defendant, THE PEER GROUP, INC., is a corporation

with its principal place of business in New Jersey.

        10.    Defendant, John Does 1-10 will be identified through discovery, but are not

presently known.

                                        RELEVANT FACTS

        11.     On December 9, 2010 Defendants sent 1 unsolicited facsimile to Plaintiff in St.

Louis County, Missouri. A true and conect copy of the facsimile is attached as Exhibit 1.

        12.     Defendants approved, authorized and participated in the scheme to broadcast faxes

by (a) directing a list to be purchased or assembled; (b) directing and supervising employees or

third parties to send the faxes; (c) creating and approving the form of fax to be sent; and (d)

determining the number and frequency of the facsimile transmissions.

        13.     Defendants created or made Exhibit 1, which Defendants distributed to Plaintiff and

the other members of the class.
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       14.     Exhibit 1 is a part of Defendants' work or operations to market Defendants' goods

or services which was performed by Defendants and on behalf of Defendants.

       15.     Exhibit 1 constitutes material furnished in connection with Defendants' work or

operations.

       16.     Exhibit 1 hereto is material advertising the commercial availability of any property,

goods, or services.

        17.    The transmissions of Exhibit 1 to Plaintiff did not contain a notice that informs the

recipient of the ability and means to avoid future unsolicited advertisements.

        18.    The transmissions of Exhibit 1 to Plaintiff did not contain a notice that states that

the recipient may make a request to the sender of the advertisement not to send any future

advertisements to a telephone facsimile machine or machines and that failure to comply, within 30

days, with such a request meeting the requirements under paragraph 47 C.F.R. 64.1200(a)(3)(v) of

this section is unlawful.

        19.     The transmissions of Exhibit 1 to Plaintiff did not contain a notice that complied

with the provisions of 47   U.s.c.   § 227(b)(1)(C) and/or 47 C.F.R. 64.1200(a)(3).

        20.     The transmissions of Exhibit 1 to Plaintiff was required to contain a notice that

complied with the provisions of 47 U.S.C. § 227(b)(1)(C) and/or 47 C.F.R. 64.1200(a)(3).

        21.     Plaintiff had not invited or given permission to Defendants to send fax

advertisements.

        22.     Plaintiff did not have an established business relationship with Defendants.




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       23.     On information and belief, Defendants sent multiple unsolicited facsimiles to

Plaintiff and members of the proposed classes throughout the time period covered by the class

definitions.

        24.    On information and belief, Defendants faxed the same and similar facsimiles to the

members of the proposed classes in Missouri and throughout the United States without first

obtaining the recipients' prior express permission or invitation.

        25.    There is no reasonable means for Plaintiff (or any other class member) to avoid

receiving unlawful faxes.       Fax machines are left on and ready to receive the urgent

communications their owners desire to receive.

        26.    Defendants violated 47 U.S.C. § 227 et seq. by transmitting Exhibit 1 hereto to

Plaintiff and the other members of the class without obtaining their prior express permission or

invitation and not displaying the proper opt out notice required by 64 C.F.R. 1200.

        27.    Defendants knew or should have known that: (a) Exhibit 1 was an advertisement;

(b) Plaintiff and the other members of the class had not given their prior permission or invitation to

receive Exhibit 1; (c) No established business relationship existed with Plaintiff and the other

members of the class; and (d) Defendants did not display a proper opt out notice.

        28.     Defendants engaged in the transmissions of Exhibit 1 believing such transmissions

were legal based on Defendants' own understanding of the law and/or based on the representations

 of others on which Defendants reasonably relied.

         29.    Defendants did not intend to send transmissions of Exhibit 1 to any person where

 such transmission was not authorized by law or by the recipient, and to the extent that any

 transmissions of Exhibit 1 was sent to any person and such transmission was not authorized by law
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                                                                                understanding of
or by the recipient, such transmission was made based on either Defendants' own
                                                                              reasonably relied.
the law and/or based on the representations of others on which Defendants

        30.    Defendants failed to correctly determine the legal restrictions on the use of
                                                                     the transmission of Exhibit 1
facsimile transmissions and the application of those restrictions to

both to others in general, and specifically to Plaintiff.

        31.     The transmissions of Exhibit 1 to Plaintiff caused destruction of Plaintiffs property.

        32.     The transmissions of Exhibit 1 to Plaintiff interfered with Plaintiffs exclusive use

of Plaintiffs property.

        33.     The transmissions of Exhibit 1 to Plaintiff interfered with Plaintiffs business and/or

personal communications.
                                 COUNT I
               TELEPHONE CONSUMER PROTECTION ACT, 47 U.S.C.                           227


        34.     Plaintiff incorporates the preceding paragraphs as though ftilly set forth herein.

         35.    Plaintiff brings Count I pursuant to the Telephone Consumer Protection Act, 47

 U.S.C. § 227, on behalf of the following class of persons:

                 All persons who (1) on or after four years prior to the filing of this action, (2)
                                                                                 advertising the
                 were sent telephone facsimile messages of material
                 commercial availability of any property, goods, or services by or on behalf of
                 Defendants (3) with respect to whom Defendants cannot provide evidence of
                 prior express permission or invitation for the sending of such faxes, (4) with
                 whom Defendants does not have an established business relationship and (5)
                 which did not display a proper opt out notice.

         36.     A class action is warranted because:

                 a.       On information and belief, the class includes more than forty persons and is

                 so numerous that joinder of all members is impracticable.
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       b.      There are questions of fact or law common to the class predominating over

        questions affecting only individual class members, including without limitation:

               i.       Whether Defendants engaged in a pattern of sending unsolicited fax

               advertisements;

               ii.      Whether Exhibit 1 contains material advertising the commercial

               availability of any property, goods or services;

               iii.     Whether   Defendants'     facsimiles      advertised   the   commercial

               availability of property, goods, or services;

               iv.      The manner and method Defendants used to compile or obtain the

               list of fax numbers to which they sent Exhibit 1 and other unsolicited faxed

               advertisements;

               v.       Whether Defendants faxed advertisements without first obtaining the

               recipients' prior express permission or invitation;

                vi.     Whether Defendants violated the provisions of 47 USC § 227;

                vii.    Whether Plaintiff and the other class members are entitled to

                statutory damages;

                viii.   Whether Defendants knowingly violated the provisions of 47 Usc §

                227;

                ix.     Whether Defendants should be enjoined from faxing advertisements

                in the future;

                x.      Whether the Court should award trebled damages; and
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                       xi.     Whether Exhibit 1 displayed the proper opt out notice required by 64

                       C.F.R. 1200.

        37.     Plaintiff will fairly and adequately protect the interests of the other class members.

Plaintiffs counsel are experienced in handling class actions and claims involving unsolicited

advertising faxes. Neither Plaintiff nor Plaintiffs counsel has any interests adverse or in conflict

with the absent class members.

        38.     A class action is an appropriate method for adjudicating this controversy fairly and

efficiently. The interest of each individual class member in controlling the prosecution of separate

claims is small and individual actions are not economically feasible.

        39.     The TCPA prohibits the "use of any telephone facsimile machine, computer or

other device to send an unsolicited advertisement to a telephone facsimile machine.. . ." 47   U.s.c.


§ 227(b)(l:).

        40.     The TCPA defines "unsolicited advertisement," as "any material advertising the

commercial availability or quality of any property, goods, or services which is transmitted to any

person without that person's express invitation or permission." 47 U.S.C. § 227(a)(4).

        41.     The TCPA provides:

                Private right of action. A person may, if otherwise permitted by the laws or
                rules of court of a state, bring in an appropriate court of that state:

                (A)     An action based on a violation of this subsection or the regulations
                prescribed under this subsection to enjoin such violation,

                (B)     An action to recover for actual monetary loss from such a violation,
                or to receive $500 in damages for each such violation, whichever is greater,
                or

                (C)    Both such actions.




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       42.     The Court, in its discretion, may treble the statutory damages if the violation was

knowing. 47 U.S.C. § 227.

       43.     The TCPA is a strict liability statute and the Defendants are liable to Plaintiff and

the other class members even if their actions were only negligent.

       44.     Defendants' actions caused damages to Plaintiff and the other class members.

Receiving Defendants' junk faxes caused the recipients to lose paper and toner consumed in the

printing of Defendants' faxes. Moreover, Defendants' actions interfered with Plaintiff's use of its

fax machine and telephone line connected to that fax machine. Defendants' faxes cost Plaintiff

time, as Plaintiff and its employees wasted their time receiving, reviewing and routing Defendants'

unlawful faxes. That time otherwise would have been spent on Plaintiff's business activities.

Finally, Defendants' faxes unlawfully interrupted Plaintiff's and the other class members' privacy

interests in being left alone.

        45.     Defendants did not intend to cause damage to Plaintiff and the other class members,

did not intend to violate their privacy, and did not intend to interfere with recipients' fax machines

or consume the recipients' valuable time with Defendants' advertisements.

        46.     If the court finds that Defendants knowingly violated this subsection or the

regulations prescribed under this subsection, the court may, in its discretion, increase the amount

of the award to an amount equal to not more than three times the amount available under

subparagraph (B) of this paragraph. 47 U.S.C. § 227(b)(3).

        47.     Defendants knew or should have known that: (A) Plaintiff and the other class

members had not given express permission or invitation for Defendants or anyone else to fax

advertiseniefltS about Defendants' goods or services, (B) Defendants did not have an established
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business relationship with Plaintiff and the other members of the class, (C) Exhibit 1 was an

advertisement, and (D) Exhibit 1 did not display the proper opt out notice.

       48.     Defendants violated 47 U.S.C. § 227 et seq. by transmitting Exhibit 1 hereto to

Plaintiff and the other members of the class without obtaining their prior express permission or

invitation and not displaying the proper opt out notice required by 64 C.F.R. 1200.

       Defendants knew or should have known that: (a) Exhibit 1 was an advertisement; (I,)

Defendants did not obtain prior permission or invitation to send Exhibit 1; (c) Defendants did not

have an established business relationship with Plaintiff or the other members of the class and (d)

Defendants did not display a proper opt out notice.

       Defendants engaged in the transmission of Exhibit 1 believing such a transmission was

legal based on Defendants' own understanding of the law andlor based on the representations of

others on which Defendants reasonably relied.

        Defendants did not intend to send transmission of Exhibit 1 to any person where such

transmission was not authorized by law or by the recipient, and to the extent that any transmission

of Exhibit 1 was sent to any person and such transmission was not authorized by law or by the

recipient, such transmission was made based on either Defendants' own understanding of the law

and/or based on the representations of others on which Defendants reasonably relied.

        Defendants failed to correctly determine the legal restrictions on the use of facsimile

transmissions and the application of those restrictions to the transmission of Exhibit 1 both to

others in general, and specifically to Plaintiff.

        49.     Defendants' actions caused damages to Plaintiff and the other class members,

because their receipt of Defendants' unsolicited fax advertisements caused them to lose paper and




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                                                              Plaintiffs fax machine from being used
toner consumed as a result. Defendants' actions prevented
                                                                     using Plaintiff's fax machine for
for Plaintiff's business purposes during the time Defendants were

Defendants' unauthorized purpose.        Defendants' actions also cost Plaintiff employee time, as

Plaintiffs employees used their time receiving, routing and reviewing Defendants' unauthorized
                                                                       business activities. Finally, the
faxes and that time otherwise would have been spent on Plaintiff's
                                                                members of the class occurred
injury and property damage sustained by Plaintiff and the other
                                                                      class member, instead may
outside of Defendants' premises. Pursuant to law, Plaintiff, and each

recover $500 for each violation of the TCPA.

          WHEREFORE, Plaintiff, ST. LOUIS HEART CENTER, INC., individually and on behalf
                                                         favor and against Defendants, GILBAD
of all others similarly situated, demand judgment in its

PALO ALTO, INC., LLC, THE PEER GROUP, iNC., and JOHN DOES 1.10, as follows:

           A.   That the Court adjudge and decree that the present case may be properly maintained

                                             representative of the class, and appoint Plaintiff's counsel
 as a class action, appoint Plaintiff as the

 as counsel for the class;

           B.   That the Court award between $500.00 and $1,500.00 in damages for each violation

 of the TCPA;

           C.    That the Court enter an injunction prohibiting the Defendants from engaging in the

 statutory violations at issue in this action; and

           D.    That the Court award costs and such further relief as the Court may deem just and

 proper.

           E.    That the Court award pre-judgment and post-judgment interest at the statutory rate

 of 9%.




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                                             COUNT II
                                           CONVERSION

       50.      Plaintiff incorporates Paragraphs 3 and 4, 11 - 15, 21 - 25 and 28 - 33 as for its

paragraph 50.

       51.      In accordance with Mo. S. Ct. Rule 52.08, Plaintiff brings Count II for conversion

under the common law for the following class of persons:

                All persons who on or after five years prior to the filing of this action, were
                sent telephone facsimile messages by or on behalf of Defendants with respect
                to whom Defendants cannot provide evidence of prior express permission or
                invitation.

       52.      A class action is proper in that:

                a.      On information and belief the class is so numerous that joinder of all

                members is impracticable.

                b.      There are questions of fact or law common to the class predominating over

                all questions affecting only individual class members, including:

                        i.       Whether Defendants engaged in a pattern of sending unsolicited

                        faxes;

                        ii.      Whether Defendants sent faxes without obtaining the recipients'

                        prior express permission or invitation of the faxes;

                        iii.     The manner and method Defendants used to compile or obtain the

                        list of fax numbers to which it sent Exhibit I and other unsolicited faxes;

                        iv.      Whether Defendants committed the tort of conversion; and

                        v.       Whether Plaintiff and the other class members are entitled to recover

                        actual damages and other appropriate relief.




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       53.     Plaintiff will fairly and adequately protect the interests of the other class members.

Plaintiff has retained counsel who is experienced in handling class actions and claims involving

unlawful business practices. Neither Plaintiff nor Plaintiffs counsel have any interests adverse or

in conflict with the class.

        54.     A class action is an appropriate method for adjudicating this controversy fairly and
efficiently. The interest of the individual class members in individually controlling the prosecution

of separate claims is small and individual actions are not economically feasible.

        55.     By sending Plaintiff and the other class members unsolicited faxes, Defendants

improperly and unlawfully converted their fax machines, toner and paper to its own use.

Defendants also converted Plaintiffs employees' time to Defendants' own use.

        56.     Immediately prior to the sending of the unsolicited faxes, Plaintiff, and the other

class members owned an unqualified and immediate right to possession of their fax machine,

paper, toner, and employee time.

        57.     By sending the unsolicited faxes, Defendants permanently misappropriated the class

members' fax machines, toner, paper, and employee time to Defendants' own use.                  Such

misappropriation was wrongful and without authorization.

        58.     Defendants knew or should have known that its misappropriation of paper, toner,

and employee time was wrongful and without authorization.

        59.     Plaintiff and the other class members were deprived of the use of the fax machines,

paper, toner, and employee time, which could no longer be used for any other purpose. Plaintiff

 and each class member thereby suffered damages as a result of the sending of unsolicited fax

 advertisements from Defendants.




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          60.   Each of Defendants' unsolicited faxes effectively stole Plaintiffs employees' time

because multiple persons employed by Plaintiff were involved in receiving, routing, and reviewing

Defendants' unlawful faxes. Defendants knew or should have known employees' time is valuable

to Plaintiff.

          61.   Defendants' actions caused damages to Plaintiff and the other members of the class

because their receipt of Defendants' unsolicited faxes caused them to lose paper and toner as a

result.    Defendants' actions prevented Plaintiffs fax machines from being used for Plaintiffs

business purposes during the time Defendants was using Plaintiff's fax machines for Defendants'

unlawful purpose. Defendants' actions also cost Plaintiff employee time, as Plaintiffs employees

used their time receiving, routing, and reviewing Defendants' unlawful faxes, and that time

otherwise would have been spent on Plaintiffs business activities.

          WHEREFORE, Plaintiff, ST. LOUIS HEART CENTER, INC., individually and on behalf

of all others similarly situated, demand judgment in its favor and against Defendants, GILEAID

PALO ALTO, INC., THE PEER GROUP, iNC., and JOHN DOES 1-10, as follows:

          A.     That the Court adjudge and decree that the present case may be properly maintained

as a class action, appoint Plaintiff as the representative of the class, and appoint Plaintiffs counsel

as counsel for the class;

          B.     That the Court award appropriate damages;

          C.     That the Court award costs of suit; and

          D.     Awarding such further relief as the Court may deem just and proper.




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                            COUNT III
   MISSOURI CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
                            Chapter 407

       62.      Plaintiff incorporates Paragraphs 3 and 4, 11 - 15, 21 - 25 and 28 - 33 as for its

paragraph 62.

       63.      In accordance with Chapter 407, Plaintiff, on behalf of the following class of

persons, bring Count III for Defendants' unfair practice of sending unsolicited and unlawful fax

advertisements:

                All persons who on or after four years prior to the filing of this action, were
                sent telephone facsimile messages by or on behalf of Defendants with respect
                to whom Defendants cannot provide evidence of prior express permission or
                invitation.

       64.      A class action is proper in that:

                a.      On information and belief the class consists of over 40 persons in Missouri

                and throughout the United States and is so numerous that joinder of all members is

                impracticable.

                b.      There are questions of fact or law common to the class predominating over

                all questions affecting only individual class members including:

                        i.       Whether Defendants engaged in a pattern of sending unsolicited

                        faxes;

                        ii.      The manner and method Defendants used to compile or obtain the

                        list of fax numbers to which it sent Exhibit 1 and other unsolicited faxes;

                        iii.     Whether Defendants' practice of sending unsolicited faxes violates

                        Missouri public policy;




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                       iv.     Whether Defendants' practice of sending unsolicited faxes is an

                       unfair practice under the Missouri Merchandising Practices Act (MMPA),

                       Chapter 407 RSMO; and

                       v.      Whether Defendants should be enjoined from sending unsolicited

                       fax advertising in the future.

       65.      Plaintiff will fairly and adequately protect the interests of the other class members.

Plaintiff has retained counsel who are experienced in handling class actions and claims involving

lawful business practices. Neither Plaintiff nor Plaintiff s counsel have any interests adverse or in

conflict with the class.

        66.     A class action is an appropriate method for adjudicating this controversy fairly and

efficiently. The interest of the individual class members in individually controlling the prosecution

of separate claims is small and individual actions are not economically feasible.

        67.     Defendants' unsolicited fax practice is an unfair practice, because it violates public

policy, and because it forced Plaintiff and the other class members to incur expense without any

consideration in return.     Defendants' practice effectively forced Plaintiff and the other class

members to pay for Defendants' advertising campaign.

        68.     Defendants violated the unfairness predicate of the Act by engaging in an

unscrupulous business practice and by violating Missouri statutory public policy, which public

policy violations in the aggregate caused substantial injury to hundreds of persons.

        69.     Defendants' misconduct caused damages to Plaintiff and the other members of the

class, including the loss of paper, toner, ink, use of their facsimile machines, and use of their

employees' time.




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       70.     Defendants' actions caused damages to Plaintiff and the other class members

because their receipt of Defendants' unsolicited faxes caused them to lose paper and toner

consumed as a result. Defendants' actions prevented Plaintiff's fax machine from being used for

Plaintiff's business purposes during the time Defendants was using Plaintiffs fax machine for

Defendants' unlawful purpose.        Defendants' actions also cost Plaintiff employee time, as

Plaintiffs employees used their time receiving, routing, and reviewing Defendants' unlawful faxes

and that time otherwise would have been spent on Plaintiff's business activities.

       WI{EREFORE, Plaintiff, ST. LOUIS HEART CENTER, INC., individually and on behalf

of all others similarly situated, demand judgment in its favor and against Defendants, GILEAD

PALO ALTO, INC., THE PEER GROUP, INC., and JOHN DOES 1-10, as follows:

       A.      That the Court adjudge and decree that the present case may be properly maintained

as a class action, appoint Plaintiff as the class representative, and appoint Plaintiff's counsel as

counsel for the class;

       B.      That the Court award damages to Plaintiff and the other class members;

        C.     That the Court award treble damages to Plaintiff and the other class members for

               knowing violations of the TCPA;

        D.     That the Court declare that Defendants' conduct violated the TCPA and that this

               action is just and proper;

        E.     That the Court award damages for conversion of the plaintiffs and the class for

               violation of their rights;

        F.     That the Court award damages and attorney fees for violation of Chapter 407;

        G.     That the Court award attorney fees and costs;




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      H.     That the Court award all expenses incurred in preparing and prosecuting these

             claims;

      I.     That the Court enter an injunction prohibiting Defendants from sending faxed

             advertisements; and

      J.     Awarding such further relief as the Court may deem just and proper.


                           Respectfully submitted,


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         12/9/2010 12:56


s-b L            O+ Cithr
                     Efficacy and Safety of Ranexa® (ranolazine extended-release tablets)


        DeCemberT,2010
                                                                                                          peer         CR
        Dr. Ronald Weiss
        1031 Bellevue Avenue
        Suite 206
        Saint Louis, MO 63117

        Dear Dr. Weiss:                                                                                      RSVP Information

        'lou are cordially invited to join several of your physician colleagues for a 60-       Phone: 1-888-PEER-321
         minute Power Lunch interactive medical discussion via weboonference                    Fax:   1-800-929-8290
        entitled, Efficacy and Safety of Ranexa (ranolazine extended-release
                                                                                                Please validate your phone number:
        tablets).

        This promotional program will be led by Dr. Barry Greenberg MD,Professor
        of  Medicifle1DireCtOrdVam           Heart Failure Treatment Program                I




        University of California1Safl Diego1 who will present information on Ranexa                     December 8, 2010
                                                                                                Date:
        on behalf of Gilead Sciences, A Peer Group professional moderator will                  Time: 001:30 PM ET
        facilitate discussion with Dr. Barry Greenberg.
                                                                                                Date: December 9, 2010
                                                                  will review clinical
        This program is being provided by Gilead Sciences arid                                  flme: 0 12:15 PM El' 005:15 PM El'
        data of Ranexae (ranolazine  extended-release tablets). Program  participants
                                                                                                Date: December 14.2010
        will be asked to complete a survey. The information shared may be used by               Time 0 12:30 PM El'
        Gilead Sciences to address educational needs in the future
                                                                                                Web Address:
        In the right-hand column, please find the scheduled program time that is
        being offered in your area. Please RSVP via phone or fax. A confirmation                D Please check if you would like to attend our
        letter will be mailed to you approximately 10 days prior to the program.                Interactive Medical Discussion, You may update
                                                                                                any changes in your address below. Please
                                                                                                provide your current once phone number so we
        Thank you in advance for your time and consideration. We look forward to                may place a reminder call to you pear to the
        your participation in this interesting program.                                         meebng.

                                                                                                Phone:
        Sincerely,
                                                                                                Fax:

        Kathleen Bresette
        President                                                                               Address:
        The Peer Group
                                                                                                City, State and Zip:


                                                                                                Specialty:
                     G I L E A D
                                                                                                Email:

        çRnExa
         .
                ; pi'r;                    PLEIS                                                 If you no longer wish to receive fax
                                   5iumg
                                                                                                 messages from The Peer Group for
                                                                                                 Ranexa please call 1.888.PEER.321
                                                                                                 or fax us et i.BOO.929.8290.

                                                                                                 If you no longer wish to receive fax
                                                                                                 messages from The Peer Group,
                                                                                                 Please call 1.888.PEER.321 or fax us
             Ranexa is a registered trademark of Gilead Palo Alto, Inc.                          at   1.800.929.8290.
             © 2010 Gilead Palo Alto, Inc. All rights reserved. RAN4028 03/10



                                               EXHgB!T i
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I certify and attest that the above is a true copy of the origifla: r'eco.   of the Court ki case
number   _
             I 3SLJ C-G C) I       O3         as it appears on file in my office.




                                                    JOMI M. GILMER . Circuit Clerk
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                                                    St. Louis County Circuit Court




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